   Case: 1:20-cv-03837 Document #: 39 Filed: 09/01/20 Page 1 of 3 PageID #:5997




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   BOARD OF TRUSTEES OF THE UNIVERSITY OF
   ARKANSAS, A BODY POLITIC AND CORPORATE,
                                                                 Civil Action No.: 1:20-cv-03837
           Plaintiff,
                                                                 Judge Manish S. Shah
   v.
                                                                 Magistrate Judge Jeffrey I. Cummings
   THE PARTNERSHIPS AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                 DEFENDANT
                56                                 Top_500_sports
                414                                    Zfx2046
                98                                 jordan_nba2020
                96                                 Jersey_nba_stor
                97                                  Jerseyhbdh123
                230                                usa_jersey_shop
                49                                    Poloshirtll
                78                                    poloshirtjj
                227                                    Tryones
                211                                 Redtradesport
                153                                   Fans_edge
                409                  Quanzhou AIMI Melamine Ware Co., Ltd.
                191                               mickisportsjerseys
   Case: 1:20-cv-03837 Document #: 39 Filed: 09/01/20 Page 2 of 3 PageID #:5998




DATED: September 1, 2020                    Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
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                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-03837 Document #: 39 Filed: 09/01/20 Page 3 of 3 PageID #:5999




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 1, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
